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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


D’LISA WILLIAMS, individually and on
behalf of all others similarly situated,

                    Plaintiff,                   Case No. 3:22-cv-01253

       v.                                        Hon. Nancy J. Rosenstengel

JRN, INC., a Tennessee corporation,

                    Defendant.


      PROPOSED AGREED ORDER TO EXTEND DEADLINE TO ANSWER

      This matter, coming before the Court, and the Court being fully apprised, IT IS

HEREBY ORDERED:

      1.    The Parties’ Joint Motion to Extend Deadline to Answer is GRANTED.

      2.    Defendant must file an answer by Tuesday, July 9, 2024.



Entered: ______________________        So Ordered: _____________________________
                                                   Hon. Nancy J. Rosenstengel
